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                     UNITED STATES DISTRICT COURT
                                                   for the
                                            District of Colorado
                                       Honorable Marcia S. Krieger


                                                             Case No. 18-CV-01761-MSK-NYW
                  Tiffany Grays, pro se

                        Plaintiff(s)


                          -V-


      Auto Mart USA, LLC; Jorge Pacheco;
   Auto Mart USA2; Daniel Ramirez, JB Ovalle;
   Donnie McElroy; Marco Sandoval; Auto Mart;
                   Jay Barbar

                      Defendant(s)


       PLAINTIFF’S MOTION FOR PARTIAL SUMMARY
                      JUDGMENT

      Pro se Plaintiff, Tiffany Grays, hereby moves for partial summary judgment on the following

   claims pursuant to Fed. R. of Civ. P. 56.


                                       I.     CERTIFICATION

      Plaintiff in good-faith, verbally discussed the grounds for this motion and the relief requested

   with counsel for all Defendants, Mr. Michael McKinnon, on November 13, 2019. Defendants

   oppose the relief requested herein.




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         II.   CLAIMS UPON WHICH PARTIAL JUDGMENT IS
                              SOUGHT


   PLAINTIFF IS ENTITLED TO SUMMARY JUDGMENT: ISSUE
   OF AGENCY
         1. Burden of proof and elements
         To move for judgment on the issue of agency between Defendants; Plaintiff must prove:

                a. Defendant: Auto Mart USA, LLC; d/b/a Auto Mart USA2; and d/b/a Auto

                   Mart is a corporation and can act only through its officers and employees;

                b. Its officers and employees being the individual named Defendants: Jorge

                   Pacheco; Daniel Ramirez, JB Ovalle; Donnie McElroy; Marco Sandoval; and

                   Jay Barbar (collectively “his” or “Individually Named Defendants”);

                c. Any act or omission of an officer or employee (Jorge Pacheco; Daniel

                   Ramirez, JB Ovalle; Donnie McElroy; Marco Sandoval; and/or Jay Barbar)

                   while acting within the scope of his employment and/or authority is the act or

                   omission of Defendant Auto Mart USA, LLC; d/b/a Auto Mart USA2; and

                   d/b/a Auto Mart.

         2. Undisputed facts substantiate Defendants’ agency
                a. Defendants initial Answer (ECF No. 51) made on May 17, 2019, admits the

                   following on behalf of all individual Defendants named;

                       i. “Defendants admit the allegations in paragraph B (Defendant

                           Information) of Plaintiff’s Second Amended Complaint.” (ECF No. 51

                           ¶2 p. 1),




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                          A. This admission therefore admits the following contained within

                             paragraph B (Defendant Information) of the Second Amended

                             Complaint:

                                 a. Auto Mart USA, LLC is located at 835 S Havana St

                                    Aurora, CO 80012;

                                 b. Auto Mart USA, LLC’s phone number is 303-438-

                                    4000;

                                 c. Auto Mart USA, LLC’s main contact email address is

                                    “dramirez@denverautomart.com”

                                 d. Defendant Daniel Ramirez can be contacted at Auto

                                    Mart USA, LLC’s locations listed in paragraphs a-c;

                                 e. Defendant Jorge Pacheco can be contacted at Auto Mart

                                    USA, LLC’s locations listed in paragraphs a and b; and

                                    can be emailed at jpacheco@denverautomart.com;

                                 f. Defendant Marco Sandoval can be contacted at Auto

                                    Mart USA, LLC’s locations listed in paragraphs a and

                                    b; and can be emailed at

                                    msandoval@denverautomart.com;

                                 g. Defendant JB Ovalle can be contacted at Auto Mart

                                    USA, LLC’s locations listed in paragraph a; and can be

                                    emailed at jovalle@denverautomart.com and by phone

                                    at 720-412-6914;




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                                   h. Defendant Donnie McElroy can be contacted at Auto

                                      Mart USA, LLC’s locations listed in paragraphs a and

                                      b; and can be emailed at

                                      dmcelroy@denverautomart.com;

                                   i. Defendant Jay Barber can be contacted at Auto Mart

                                      USA, LLC’s locations listed in paragraphs a and b; and

                                      can be emailed at MBarbar@denverautomart.com.

                    ii. “Defendant Auto Mart admits all allegations except the last sentence

                       of the paragraph…” (ECF No. 51 ¶5 p. 4),

                           A. This admission therefore admits the following contained within

                               paragraph 5 of the Second Amended Complaint:

                                   a. Defendants Auto Mart USA, LLC, Auto Mart and Auto

                                      Mart USA2 are one in the same;

                                   b. Each can be contacted at the same locations where

                                      individually Defendants can be contacted, 835 S

                                      Havana St. Aurora, CO 80012 and 303-438-4000;

                                   c. Defendants Auto Mart USA, LLC, Auto Mart and Auto

                                      Mart USA2 is an American corporation;

                                   d. Defendant Daniel Ramirez is the registered agent of

                                      Defendants Auto Mart USA, LLC, Auto Mart and Auto

                                      Mart USA2.




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                     iii. Defendants fail to deny and therefore admits Defendant Daniel

                         Ramirez is an employee of Auto Mart USA as the Operations

                         Manager. (ECF No. 51 ¶6 p. 5).

                     iv. Defendants “admit [Marco] Sandoval is an employee of Defendant

                         Auto Mart. (ECF No. 51 ¶9 p. 5).

                      v. Defendants “admit [Donnie] McElroy is an employee of Defendant

                         Auto Mart. (ECF No. 51 ¶10 p. 5).

               b. Within Defendants’ initial disclosures (ECF No. 68-1(2)), Defendants admit:

                      i. “Owners, managers and other employees of Auto Mart and its

                         affiliated companies..” (Id. 68-1(2)) are:

                             A. Daniel Ramirez (Id. 68-1(2)(b));

                             B. Jorge Pacheco (Id. 68-1(2)(c));

                             C. Marco Sandoval (Id. 68-1(2)(d));

                             D. Jay Barber (Id. 68-1(2)(e));

                             E. Donnie McElroy (Id. 68-1(3));

                             F. JB Ovalle (Id. 68-1(4);

                      ii. Each person listed was involved with Plaintiff’s claims, has

                         information related to this case, and acted for Auto Mart in the

                         following manners:

                             A. Daniel Ramirez “is the Director of Operations for Auto

                                 Mart…” (Id. 68-1(2)(b));

                             B. Jorge Pacheco “was the salesperson on the attempted sale of

                                 the vehicle to the Plaintiff…” (Id. 68-1(2)(c));




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                              C. Marco Sandoval “was the General Manager for Auto Mart at

                                 the time Plaintiff attempted to purchase a vehicle…” (Id. 68-

                                 1(2)(d));

                              D. Jay Barber “was the Finance Manager in Plaintiff’s attempted

                                 purchase..” (Id. 68-1(2)(e));

                              E. Donnie McElroy “was the Finance Contractor on Plaintiff’s

                                 attempted purchase.” (Id. 68-1(3));

                              F. JB Ovalle “was a salesperson involved in Plaintiff’s attempted

                                 purchase.” (Id. 68-1(4);

                     iii. Marco Sandoval is listed as the Dealer’s Agent (ECF No. 108-1 p. 2);

                     iv. Auto Mart USA is listed as a Dealer (ECF No. 108-1 pp. 2-3);

                      v. Auto Mart admits all Individually Named Defendants are employees

                          of Auto (ECF No. 108-2 pp. 31-32, 85 and ECF No. 108-3);

               c. Plaintiff’s Affidavit attached hereto substantiates Defendants were acting

                  within the scope of their employment during the actions in question;

               d. Based on evidence employees are agents of Auto Mart, and each Individually

                  Named Defendant was an employee of Auto Mart




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        PLAINTIFF IS ENTITLED TO PARTIAL SUMMARY
      JUDGMENT ON CLAIMS FIVE AND SIX – FRAUDULENT
          MISREPRESENTATION AND FRAUDULENT
      CONCEALMENT: “CREDIT APPROVAL GUARANTEED”
           AND “GUARANTEED CREDIT APPROVAL”
      1. Burden of proof and elements:
      A. 19:1 FALSE REPRESENTATION — ELEMENTS OF LIABILITY

         1. The defendant made a false representation of a past or present fact;

         2. The fact was material;

         3. At the time the representation was made, the defendant:

                a. knew the representation was false; or

                b. was aware that (he) (she) did not know whether the representation was true or

                    false;

         4. The defendant made the representation with the intent that (the plaintiff) (a group of

            persons of which the plaintiff was a member) would rely on the representation;

         5. The plaintiff relied on the representation;

         6. The plaintiff’s reliance was justified; and

         7. This reliance caused (injuries) (damages) (losses) to the plaintiff.


      B. 19:2 NONDISCLOSURE OR CONCEALMENT — ELEMENTS OF LIABILITY


         1. The defendant (concealed a past or present fact) (failed to disclose a past or present

         fact which [he] [she] had a duty to disclose);

         2. The fact was material;




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         3. The defendant (concealed it) (failed to disclose it) with the intent of creating a false

         impression of the actual facts in the mind of the plaintiff;

         4. The defendant (concealed) (failed to disclose) the fact with the intent that the plaintiff

         take a course of action (he) (she) might not take if (he) (she) knew the actual facts;

         5. The plaintiff took such action or decided not to act relying on the assumption that the

         (concealed) (undisclosed) fact did not exist or was different from what it actually was;

         6. The plaintiff’s reliance was justified; and

         7. This reliance caused (injuries) (damages) (losses) to the plaintiff.




      2. Undisputed facts substantiate Defendants’ fraudulently
         misrepresented and concealed material facts from the Plaintiff.
            a. Individually Named Defendants falsely represented the fact of “guaranteed credit

                approval,” and “credit approval guaranteed,” to the Plaintiff;

                     i. Defendants held a duty to disclose under 12 C.F.R. § 226.17(b); 15 U.S.C.

                          § 1631(b);

                    ii.   C.R.S. § 5-3-101(2); C.R.S. § 5-3-110; C.R.S. § 6-1-708(1)(a)(I);

                    iii. Plaintiff is a consumer as defined in C.R.S. § 5-1-301(10); 15 U.S.C. §

                          1602(i);

                    iv. Plaintiff is listed as the buyer (ECF No. 108-1 pp. 2-3)

                    v. Defendants are creditors as defined in C.R.S. § 5-1-301(17); 15 U.S.C. §

                          1602(g);

                    vi. Defendants are listed as the seller on the RISC (ECF No. 108-1 pp. 2-3);




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                  vii. Plaintiff and Defendants engaged in a consumer credit transaction as

                       defined in C.R.S. § 5-1-301(12) by and through (ECF No. 108-1 pp. 2-3)

                 viii. “guaranteed credit approval,” and “credit approval guaranteed,” were

                       advertisements as defined in C.R.S. § 6-1-102(1) (ECF No. 108-2 p. 77)

                       (ECF No. 108-4)

                  ix. Defendants sold the Plaintiff the 2013 Dodge Journey (ECF No. 108-1

                       pp. 2-3) on March 17, 2018.

            b. Defendants Jorge Pacheco, Donnie McElroy and JB Ovalle falsely represented the

               fact that the Mitsubishi Outlander was for sale as all other vehicles posted online

               (ECF No. 108-5 ¶¶ 12-14);

                   i. Defendants held a duty to disclose the salvaged title under C.R.S. § 6-2-

                       114.

            c. These facts of all credit not being approved and the Mitsubishi Outlander having a

               salvaged title were material to the Plaintiff (ECF No. 108-5 ¶¶ 5-17).

            d. Auto admits that Individually Named Defendants could not have known what the

               “guaranteed credit approval,” and “credit approval guaranteed,” meant, as Auto

               itself was ignorant (ECF No. 108-2 p. 77-80).

            e. Therefore Individually Named Defendants knew the representation “guaranteed

               credit approval,” and “credit approval guaranteed,” were false and/or was aware

               that (he) did not know whether the representation was true or false;

            f. Defendants admit advertisements containing “guaranteed credit approval,” and

               “credit approval guaranteed,”




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                       i.   were statements which held no validity and enforceability within Auto

                            (ECF No. 108-2 pp. 77-80)

                      ii. Were known to create a false impression in the mind of the Plaintiff of the

                            actual facts that credit was not guaranteed to be approved (ECF No. 108-2

                            pp. 77-80);

                      iii. Were made to induce the Plaintiff as other unsuspecting consumers into

                            action of purchasing cars from Defendants who might not have considered

                            Auto if the credit approval was not guaranteed. (ECF No. 108-2 p. 80)

               g. The Plaintiff communicated with Individually Named Defendants, went to Auto,

                   and permitted a soft inquiry against her credit relying on the assumption that her

                   credit was guaranteed to be approved and the Mitsubishi Outlander was a vehicle

                   without a salvaged title (ECF No. 108-5 ¶¶ 5-17).

               h. Plaintiff’s reliance was justified (ECF No. 108-5 ¶¶ 5-17).

               i. Plaintiff’s reliance was detrimental as the Plaintiff’s credit was not approved and

                   the vehicle Plaintiff travelled to Auto seeking to purchase held a salvaged title

                   which meant the vehicle had sustained damage which totaled the vehicle, severely

                   reducing its value

               j. As a direct result of Defendants’ actions, Plaintiff has sustained damages to be

                   proven at trial (ECF No. 16 - E. Requests for Relief).




                                      III.    CONCLUSION
       Judicial economy favors partial summary judgment in favor of the Plaintiff on all claims

    stated and evidence provided to the Court on the record substantiates said findings.




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    DATED: November 21, 2019




                               Respectfully Submitted,


                                                           /s/ Tiffany Grays, pro se


                                                                     Tiffany Grays
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                     UNITED STATES DISTRICT COURT
                                                for the
                                      District of Colorado

    Grays, Tiffany, pro se                                     18-CV-01761-MSK-NYW
            v
      Auto Mart, et al



                             CERTIFICATE OF SERVICE

    In accordance with Federal and Local Rules, I hereby certify that on the 21st day of November
    2019, I have filed the foregoing with the Clerk using the CM/ECF system, which will send a true
    copy thereof to the following recipients, via the CM/ECF system.


    DOCUMENT: PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT;
    DOCUMENT: Affidavit, Exhibits 21-24




           Auto Mart et al.
           C/O Michael McKinnon
           mgmckinnon@msn.com
           P: 303-438-4000
                                                                           /s/ Tiffany Grays, pro se


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